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                 Exhibit 5
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                         IN THE UNITED STATES COURT OF APPEALS
                                  FOR THE FIRST CIRCUIT

                                        NO. 10-1959

     IN RE: PHARMACEUTICAL INDUSTRY             MDL NO. 1456
     AVERAGE WHOLESALE PRICE                    C.A. No. 01-12257-PBS
     LITIGATION
                                                HONORABLE PATTI B. SARIS


      APPELLANT'S MOTION FOR LEAVE TO INCLUDE AN ADDENDUM
                 TO THE APPELLANT’S REPLY BRIEF

          Appellant Donald E. Haviland, Jr., ("Appellant") hereby files this Motion for

    Leave to Include an Addendum to the Appellant’s Reply Brief, and respectfully

    requests that this Honorable Court grant this Motion to include the March 28, 2011

    transcript of the District Court Final Fairness Hearing as an addendum to

    Appellant’s Reply Brief. In support of this request, Appellant avers as follows:

          1.     On Monday, March 28, 2011, the District Court held the Final

    Fairness Hearing ("Fairness Hearing") for the proposed settlement with Defendants

    Bristol-Myers Squibb ("BMS") in the underlying case, In re Pharmaceutical

    Industry Average Wholesale Price Litigation, C.A. No. 01-12257. Both Appellee

    counsel and Appellant were present at that Fairness Hearing.

          2.     During the course of the Fairness Hearing, the issue of this appeal

    came up and, specifically, the Court's injunction which is the subject of this appeal.

          3.     The District Court made a number of statements on the record
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    regarding the Court's Order and its intent as to the scope of the Subject Order on

    appeal. It is Appellant's belief that the Court substantially modified the scope of

    the subject injunction and made clear on the record that the Court did not intend for

    the Subject Order to have the extra-territorial effect that it appears to have on its

    face. This issue is critical to the subject appeal and may potentially severely limit

    the scope of this appeal, since the District Court is free to modify the scope of its

    Order during the pendency of this appeal. See Fed.R.App.P. 10(e).

          4.     The certified transcript from the March 28, 2011 Fairness Hearing

    was made available to Appellant on March 30, 2011.

          5.     On March 30, 2011, Appellant filed an Unopposed Motion for

    Extension of Time to File Appellant’s Reply Brief (“Motion for Extension”).

          6.     The basis of Appellant’s March 30, 2011 Motion for Extension was to

    allow Appellant sufficient time to receive, analyze and discuss the transcript in the

    context of his arguments in reply in this appeal.

          6.     On March 31, 2011, Appellent’s Motion for Extension of Time was

    granted.

          7.     As cited in Appellant’s Reply Brief , which is being filed

    contemporaneously with the instant Motion, upon review of the March 28, 2011

    Fairness Hearing transcript, it is Appellant's belief that the Court corrected the

    district court record by substantially modifying the scope of the subject injunction
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    and clarifying the terms of the June 22, 2010 Order.

          WHEREFORE, for the foregoing reasons, Appellant respectfully requests

    that this Honorable Court grant this Motion and include as an addendum to

    Appellant’s Reply Brief the March 28, 2011 transcript of the District Court Final

    Fairness Hearing. Alternatively, should the Court not grant the instant Motion,

    Appellant respectfully requests that the Court grant an extension of the due date of

    the instant Appellant’s Reply Brief to allow the Appellant reasonable time to

    petition the District Court to correct or modify the record pursuant to

    Fed.R.App.P. 10(e).



    Dated: April 7, 2011

                                           By:    ___________________________
                                                  Donald E. Haviland, Jr., Esquire
                                                  Michael J. Lorusso, Esquire
                                                  HAVILAND HUGHES, LLC
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                                                  Counsel for Appellant
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                            IN THE UNITED STATES COURT OF APPEALS
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     IN RE: PHARMACEUTICAL INDUSTRY                    MDL NO. 1456
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     LITIGATION
                                                       HONORABLE PATTI B. SARIS


                                         PROOF OF SERVICE

           I, Donald E. Haviland, Jr., declare under perjury that the following facts are true and

    correct:

           I am a citizen of the United States, over the age of 18 years, and not a party to or

    interested in the above-referenced case. I am a partner of Haviland Hughes, LLC, and my

    business address is 111 S. Independence Mall East, Suite 1000, Philadelphia, PA 19106.

           On April 7, 2011, I caused the Motion for Leave to Include an Addendum to the

    Appellant’s Reply Brief to be filed with the Clerk via CM/ECF and all counsel of record were

    served via CM/ECF notification.



                                                         ______________________________
                                                         Donald E. Haviland, Jr.
